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 8                        UNITED STATES DISTRICT COURT
 9                       EASTERN DISTRICT OF CALIFORNIA
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12   TRACY HØEG, M.D., Ph.D.; RAM            No. 2:22-cv-01980 WBS AC
     DURISETI, M.D., Ph.D.; AARON
13   KHERIATY, M.D.; PETE
     MAZOLEWSKI, M.D.; and AZADEH
14   KHATIBI, M.D., M.S., M.P.H.,
15                 Plaintiffs,               ORDER
16        v.
17   GAVIN NEWSOM, Governor of the
     State of California, in his
18   official capacity; KRISTINA
     LAWSON, President of the
19   Medical Board of California, in
     her official capacity; RANDY
20   HAWKINS, M.D., Vice President
     of the Medical Board of
21   California, in his official
     capacity; LAURIE ROSE LUBIANO,
22   Secretary of the Medical Board
     of California, in her official
23   capacity; MICHELLE ANNE BHOLAT,
     M.D., M.P.H., DAVID E. RYU,
24   RYAN BROOKS, JAMES M. HEALZER,
     M.D., ASIF MAHMOOD, M.D.,
25   NICOLE A. JEONG, RICHARD E.
     THORP, M.D., VELING TSAI, M.D.,
26   and ESERICK WATKINS, members of
     the Medical Board of
27   California, in their official
     capacities; and ROB BONTA,
28   Attorney General of California,
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 1   in his official capacity;

 2                 Defendants.
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     LETRINH HOANG, D.O.; PHYSICIANS         No. 2:22-cv-02147 WBS AC
 5   FOR INFORMED CONSENT, a not-for
     profit organization; and
 6   CHILDREN’S HEALTH DEFENSE,
     CALIFORNIA CHAPTER, a
 7   California Nonprofit
     Corporation;
 8
                   Plaintiffs,
 9
          v.
10
     ROB BONTA, in his official
11   capacity as Attorney General of
     California; and ERIKA CALDERON,
12   in her official capacity as
     Executive Officer of the
13   Osteopathic Medical Board of
     California;
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                   Defendants.
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17              These related matters were set for scheduling

18   conferences on April 10, 2023.      While the parties in both cases

19   submitted Joint Status Reports, they did not propose any dates.

20   Rather, defendants argued that the case should be stayed pending

21   the outcome of the appeal in McDonald v. Lawson, No. 22-56220

22   (9th Cir.).   Plaintiffs argued that a stay was not necessary and

23   the cases should proceed to motions for summary judgment.

24   McDonald is fully briefed and will be heard in July, August, or

25   September 2023, according to the parties.        The parties estimated

26   that the Ninth Circuit will issue a decision by the end of 2023.

27              The court credits defendants’ argument that the

28   proceedings in these cases will likely be informed by the outcome

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     Case 2:22-cv-01980-WBS-AC Document 45 Filed 04/11/23 Page 3 of 3


 1   of that appeal.    Nevertheless, the court has a duty to move cases

 2   -- particularly those of great public importance –- toward

 3   disposition, rather than delaying them indefinitely.          Balancing

 4   these competing concerns, the court declines to stay these

 5   actions at this time but orders that no dispositive motion shall

 6   be noticed for hearing on a date prior to January 1, 2024, or

 7   until the Ninth Circuit issues a decision in the McDonald appeal,

 8   whichever shall occur first.      This Order shall be subject to

 9   modification upon the application of any party for good cause

10   shown.

11              Pursuant to the court’s prior orders (Høeg Docket No.

12   4; Hoang Docket No. 3) and Local Rule 240, the parties shall

13   submit to the court Joint Status Reports for purposes of

14   scheduling no later than fourteen days from the date of this

15   Order, with proposed dates and deadlines, including trial, taking

16   the restrictions of this Order into account.

17              IT IS SO ORDERED.

18   Dated:   April 11, 2023

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